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                          UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF CALIFORNIA
                               SAN FRANCISCO DIVISION


IN RE: ROUNDUP PRODUCTS LIABILITY                                 Case No. 16-MD-2741-VC
LITIGATION


THIS DOCUMENT RELATES TO

Bundy v. Monsanto, 20-cv-06345-VC
                                                   I

     PLAINTIFF, ROBERT BUNDY’S REPLY TO MONSANTO’S MEMORANDUM
      IN OPPOSITION TO ROBERT BUNDY’S SECOND MOTION FOR LEAVE
            TO AMEND COMPLAINT TO JOIN ADDITIONAL PARTY
        DEFENDANT. AND FOR REMAND DUE TO A LACK OF DIVERSITY

       COMES NOW, Plaintiff, Robert Bundy, by and through his undersigned counsel, and

files this Reply to Monsanto’s Memorandum in Opposition to Robert Bundy’s Motion for Leave

to Amend Complaint to Join Additional Party Defendant, and for Remand Due to a Lack of

Diversity, and would state:

I.     Introduction and brief facts.

       On or about November 5, 2021 Plaintiff filed his second motion for leave to amend

complaint and add party defendant and for remand. In the proposed amended complaint Plaintiff

identifies M&W Supply, Inc. (“M&W Supply”) as the party responsible for selling to Plaintiff

much if not most of the Roundup Plaintiff was exposed to. Plaintiff further identifies NKC

Enterprises, Inc. (“NKC”) as the party responsible for Plaintiff s damages against M&W Supply

as successor in interest to M&W Supply. Plaintiff sought leave of the Court to amend his

Complaint to 1) join M&W Supply and NKC as a party defendants, and 2) raise claims for strict

liability against M&W Supply for distributing/selling an inherently dangerous product and

against NKC as successor in interest to M&W Supply. The Plaintiff further argued that, upon

the joinder of M&W Supply and NKC, both Florida for profit corporations, as a party

Defendants, diversityjurisdiction will no longer exist, such that the case must be remanded back


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to the Circuit Court in and for Sarasota County, Florida.

         Monsanto has filed its Memorandum in Opposition to Plaintiffs Motion for Leave to

Amend Complaint to Join Additional Party Defendant, and for Remand Due to a Lack of

Diversity. In it, Monsanto claims that joinder of M&W Supply and NKC is improper. As will

be discussed below, Monsanto has simply ignored or misapplied the federal caselaw authority

and the facts which give rise to the challenged motion.

II.      Discussion.

         Monsanto’s substantive argument against Plaintiffs motion can be boiled down to the

following arguments: Monsanto contends the Plaintiff has not overcome the Court’s prior

concern of unexplained delay in requesting joinder, Monsanto contends the Plaintiff has not

overcome the Court’s prior concern that joinder was intended solely to defeat federal

jurisdiction and Monsanto contends the Plaintiffs arguments regarding the other factors at issue

in a Section 1447(e) analysis lack merit. As will be discussed below, each of these arguments

ignores or misunderstands the import of the facts which give rise to the motion for leave to

amend.

         1.     The Plaintiff has overcome the Court’s prior concern of unexplained delay

                in requesting joinder. (Factor 3)

         Monsanto states in its opposition that Plaintiffs discussion regarding the delay in

requesting joinder resulting as a result of Plaintiffs exploration of the medical causation issue

outlined in its second motion for leave to amend “misses the mark”. Monsanto contends that

Plaintiff should have had a good faith basis prior to filing suit and that whatever conclusion

Plaintiff reached regarding medical causation would apply to any retailer defendant. While this

is true, Monsanto’s argument engages in a faulty analysis. Monsanto would have the Court hold

that a plaintiff attempting to amend after removal may only do so against those the plaintiff was

unaware of at the filing of the initial compliant. This is simply not the standard. The Plaintiffs



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arguments in its second motion for leave to amend overcome any legitimate concern regarding

the delay when initially moving to add M&W Supply.            Yes, the Plaintiff knew of M&W

Supply’s existence when it filed its initial complaint. Without revealing work product or in

depth case strategy, certainly one of the reasons a plaintiff, including this Plaintiff, may elect

to sue only Monsanto in these cases would be to attempt to simplify the litigation and seek a

reasonable early resolution or settlement. As explained in the second motion for leave to amend,

not only was this early resolution not reached but Monsanto also raised a new medical causation

issue. These events occurred shortly after the Plaintiff filed his initial Complaint. It was at this

point that Plaintiff had reason to believe it was unlikely to obtain a reasonable early resolution

in this matter and began to consider what, ifany, additional parties would be needed. It was also

not until this point in time, again after the initial Complaint was filed, that Plaintiff was made

aware of this medical causation issue. Plaintiff elected, in a decision that was both responsible

and ethical, to make sure that the newly discovered medical causation issue was not a problem

with the Plaintiffs medical causation in this case prior to moving to add M&W Supply.

Plaintiff immediately went out and obtained additional expert opinion to address this issue and

then immediately went forward with attempting to add M&W Supply. As Monsanto points out

in its opposition, whatever conclusion he reached regarding medical causation would also apply

to any retailer defendant. Once this medical causation issue was resolved, Plaintiff wasted no

time in moving to add M&W Supply. In short, there is nothing suspicious about the timing.

Section 1447(e) analysis was never designed to punish plaintiffs for not suing everyone in their

initial complaint. The Defendant has suffered no prejudice regarding the delay and the vast

majority of the delay was caused by the Plaintiff responsibly ensuring they have sufficient

causation evidence before electing to bring in a defendant.

       Monsanto’s arguments are even more displaced as it relates to NKC. The Plaintiff was

completely unaware of the existence ofNKC until October 202 1 . The Plaintiff was completely



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unaware of the facts which give rise to Plaintiffs cause of action against NKC until October

202 1 . Monsanto states that Plaintiff had time to conduct a pre-suit investigation and could have

theoretically discovered NKC prior to filing suit. Whether true or not, this is irrelevant as this

is not the standard Plaintiff is held to under Section 1 447(e). Counsel for Plaintiff had no reason

to suspect the existence of NKC or the facts which form the basis for NKC’s liability to the

Plaintiff and therefore no reason to search for the existence of NKC. It was only by chance,

when happening upon an active webpage for “M&W Supply”, that this information was

suspected. Thereafter, it was immediately investigated and the subsequent motions were filed.

The Plaintiffs second motion for leave to amend was filed within weeks of the information

which forms the basis of its claims against NKC becoming known to the Plaintiffwhich explains

the delay in suing NKC. This factor weighs in favor of allowing amendment.

       2.      Plaintiff has overcome the Court’s prior concern that joinder was intended

               solely to defeat federal jurisdiction. (Factor 4)

       Monsanto invites the Court to engage in conjecture and ascribe bad motives to Plaintiffs

second motion to amend.       The Plaintiff has explained the timeline behind its actions and

objectively demonstrated, by filing the state court action against M&W Supply and NKC, that

these claims are not brought just to defeat jurisdiction. Plaintiff is obviously motivated to avoid

the inefficiency and expense of multiple actions.1 Monsanto states that because the claims

raised in the proposed Second Amended Compliant could have been brought in the original

complaint there must be improper motive behind the requested amendment. This is, again, not

in and of itself the proper standard for the Court’s analysis. While this is a factor for the Court

to consider, Monsanto argues as if it dispositive.      This argument also ignores the fact that




              1MOn this record, the Court cannot conclude that Plaintiffs motives are
                                                                                                  55
       anything other than avoidance of the inefficiency and expense of multiple actions.
       Palestini v. Gen. Dynamics Corp., 193 F.R.D. 654, 658 (S.D. Cal. 2000)

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Plaintiff could not have sued NKC as Plaintiff did not know of NKC’s existence, or the

facts which give rise to NKS’s liability to the Plaintiff, when the initial complaint was

filed.

         “[C]ourts have found that the plaintiffs did not have an improper motive when the

plaintiffs' explanations rested on concerns such as efficiency or recently discovered

involvement in the case. See, e.g., Palestini, 193 F.R.D. at 658 (efficiency concerns);

Walsh, 2006 WL 28844 1 1 at *4. Additionally, where a plaintiff alleged that an additional

defendant had a role in the underlying actions at issue in the case, the court “decline[d]

to impute an improper motive.” IBC, 125 F. Supp. 2d at 1012.” Mudra Int'l, LLC v.

Kellwood Co., Inc., No. CV0803642DDPJCX, 2008 WL 11336465, at *4 (C.D. Cal.

Sept. 16, 2008). As explained above, that is exactly what occurred in the instant matter. The

initial decision to not include M&W Supply was a result of an attempted efficient early

resolution, the vast majority of the delay was due to Plaintiff responsibly investigating a newly

discovered medical causation issue and there was no real delay in Plaintiff attempting to sue

NKC. M&W Supply and NKC had direct roles in the underlying issues in the case and there is

nothing improper about Plaintiff suing them.

         Monsanto’s argument places far too much emphasis on attempting to have the Court

engage in supposition regarding Plaintiffs motives.        “Suspicion of diversity destroying

amendments is not as important now that § 1447(e) gives courts more flexibility in dealing with

the addition of such defendants. See Trotman, 1996 WL 428333 at * 1 (“The legislative history

to § 1447(e) ... suggests that it was intended to undermine the doctrine employed by some courts

that amendments which destroyed diversity were to be viewed with suspicion.”); see also HR

Rep No 889, 100th Cong, 2d Sess 72, reprinted in 1988 U.S.C.C.A.N. 6033 (stating purpose of

§ 1447(e) is to “take advantage of the opportunity opened by removal from a state court to

permit remand if a plaintiff seeks to join a diversity-destroying defendant after removal”)” IBC



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Aviation Servs., Inc. v. Compania Mexicana de Aviacion, S.A. de C.V., 125 F. Supp. 2d 1008,

1012 (N.D. Cal. 2000). Plaintiff has articulated its reasons, which clearly demonstrate that its

motives are not purely to defeat federal jurisdiction. This factor weighs in favor of allowing

amendment.

       3.     The Plaintiff's arguments regarding the other factors at issue in a Section

              1447(e) also weigh in favor of granting amendment.

       As this Court is aware, “Under § 1447(e), courts consider several factors in

determining whetherjoinder should be permitted, including: (1) whether the party sought

to be joined is needed for just adjudication and would be joined under Federal Rule of

Civil Procedure 19(a); (2) whether the statute of limitations would preclude an original

action against the new defendants in state court; (3) whether there has been unexplained

delay in requesting joinder; (4) whether joinder is intended solely to defeat federal

jurisdiction; (5) whether the claims against the new defendant appear valid; and (6)

whether denial of joinder will prejudice the plaintiff.” San Jose Neurospine v. Cigna

Health & Life Ins. Co., No. 16-CV-05061-LHK, 2016 WL 7242139, at *7 (N.D. Cal.

Dec. 15, 2016).

       Sections 1 and 2 of this reply address factors 3 and 4. Monsanto essentially attempts to

have the Court ignore Plaintiffs further arguments regarding the other factors because Monsanto

believes the “predicament about which the Plaintiffcomplains is one ofhis own making because

he could have, but failed to sued M&W and NKC when he filed this lawsuit in state court.”

[Document 14321]. This argument is simply irrelevant as it relates to the Court’s analysis of

the remaining factors (1,2,5, and 6) and ignores the fact that the Plaintiff could not sue NKC as

he was not aware of NKC’ s existance.

       a.     M&W Supply and NKC are needed for just adjudication and would be

              joined under Federal Rule of Civil Procedure 19(a). (Factor 1)



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       The first factor, whether the party sought to be joined is needed for just

adjudication and would be joined under Federal Rule of Civil Procedure 19(a), heavily

favors allowing amendment.

       “In other words, a necessary party is one who has an interest in the controversy and who

       “ought to be made a party in order that the court may act on the rule which requires it to

       decide and finally determine the entire controversy, and do complete justice, by adjusting

       all the rights involved in it.” CP Nat'l Corp. v. Bonneville Power Admin., 928 F.2d 905,

       912 (9th Cir. 1991) (internal quotation marks and citation omitted). In general, the rule

       is “designed to protect” parties from multiple litigation and inconsistent obligations. Id.

       at 912.”Mudra Int’l, LLC v. Kellwood Co., Inc., No. CV0803642DDPJCX, 2008 WL

       1 1 336465, at *3 (C.D. Cal. Sept. 1 6, 2008) “Federal Rule of Civil Procedure 1 9 requires

      joinder of persons whose absence would preclude the grant of complete relief, or whose

       absence would impede their ability to protect their interests or would subject any of the

       parties to the danger of inconsistent obligations.” Clinco v. Roberts, 41 F.Supp.2d 1080,

       1082 (C.D. Cal. 1999); Fed. R. Civ. P. 19(a). However, while courts consider the

       standard set forth under Rule 19 in determining whether to permit joinder under section

       1447(e), “amendment under § 1447(e) is a less restrictive standard than for joinder

       under [Rule 19].” IBC Aviation Services, Inc. v. Companiamexicanade Aviacion, S.A.

       de C.V., 125 F.Supp.2d 1008, 1011-12 (N.D. Cal. 2000). “The standard is met when

       failure to join will lead to separate and redundant actions,” but it is not met when

       “defendants are only tangentially related to the cause of action or would not prevent

       complete relief.” Id. at 1012.” Marin v. FCA US LLC, No. 2:21-CV-04067-AB-PDX,

       2021 WL 5232652, at *2 (C.D. Cal. Nov. 9, 2021). (Emphasis added)

       The facts in Marin v. FCA were very similar to the instant case. There, Marin filed an

initial lawsuit against the manufacturer and, five months later and four months after removal to



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federal court, sought to amend to add claims against the dealership which would defeat the

federal court’s diversity jurisdiction. In Marin v. FCA the court found the claims against the

dealership and manufacturer involved the same vehicle and same defects and were both related

to Marin’s claimed injuries. Likewise, Plaintiffs claims against Monsanto and M&W Supply

and NKC involve the same unreasonably dangerous substance, the same medical causation

analysis, and the same claimed injuries. Like in Marin v. FCA. the resolution of the lawsuit

against Monsanto and M&W Supply and NKC “would require many of the same documents

and witnesses and implicate many of the same factual and legal issues.” Id. Significantly

the court found, “were joinder denied and Plaintiff required to pursue his claim against

BCDJR in a separate action in state court, that action would be redundant to this action.

This factor weighs in favor of granting the amendment.”           Again, should Plaintiff be

denied he would be forced to pursue his claims in the separate state action which would

be redundant to this action. Even more than being merely redundant, there would be the

very real risk of inconsistent verdicts as the fundamental issue, whether or not Roundup

caused Plaintiffs cancer, will have to be tried twice. This factor weighs in favor of granting

the amendment.

       b.     The statute of limitations would not preclude an original action against the

              new defendants in state court. (Factor 2)

       The analysis regarding statute of limitations in Plaintiffs motion for leave to amend

admittedly relates more directly towards the fifth factor, whether the claims against the new

defendants appear valid. In analyzing the second factor, the “[c]ourts also look to whether the

statute of limitations would preclude an action against the new defendants in state court. Where

the statue of limitations has expired before the federal court has determined it will relinquish

jurisdiction, the jurisprudence counsels in favor of amendment and remand rather than forcing

the plaintiffs to abandon their claims altogether. Mudra Int'l, LLC v. Kellwood Co., Inc., No.



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CV0803642DDPJCX, 2008 WL 1 1336465, at *6 (C.D. Cal. Sept. 16, 2008). The intent of this

factor is primarily to weigh in favor of allowing amendments in situations where denial would

force a plaintiff to abandon their claims all together and not necessarily influence the Court to

deny amendment simply because a statute of limitations had not run.              While this factor

technically weighs against amendment, like in Mudra Int'l, LLC v. Kellwood Co.. Inc., “the

other factors more helpful in exercising its discretion pursuant to § 1447(e). See March Order

at 7 (“Although the statute of limitations from bringing fraud claims against Yelverton and

Wong in state court has not run ... the Court finds that requiring Plaintiff to bring a separate suit

against Yelverton and Wong would unnecessarily duplicate litigation and risk inconsistent

results.”). Id. See also “Second, even though a state court action against Mr. Connolly might

be possible,2 requiring IBC to litigate essentially the same issues in two forums would be a

waste of judicial resources and risks inconsistent results.”        IBC Aviation Servs., Inc. v.

Compania Mexicana de Aviacion, S.A. de C.V., 125 F. Supp. 2d 1008, 1012 (N.D. Cal. 2000)

       c.      The claims against the new Defendants are valid. (Factor 5)

       As discussed in Plaintiff’s second motion for leave to amend, the claims against M&W

Supply and NKC are valid. The relevant law unquestionably allows the Plaintiff to hold the

retailers participating in the chain of commerce liable for his injuries. This includes dissolved

corporations (M&W Supply) and their successors in interest (NKC). Plaintiffs claims against

these defendants are not barred by any statute of limitations and are otherwise completely valid.

Monsanto does not appear to challenge that and this factor weighs in favor of granting

amendment.

       d.      Whether denial of joinder will prejudice the Plaintiff.

       Denial ofjoinder would unquestionably prejudice the Plaintiff. Like in IBC Aviation

Servs.. Inc, v. Compania Mexicana de Aviacion. S.A. de C.V.. “denying the amendment would

require Plaintiff to choose between redundant litigation arising out of the same facts and



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involving the same legal issues or foregoing its potential claims against Mr. Connolly, while

allowing amendment will not prejudice the Defendants as discovery has not yet begun.” IBC

Aviation Servs., Inc. v. Compania Mexicana de Aviacion, S.A. de C.V., 125 F. Supp. 2d 1008,

1013 (N.D. Cal. 2000).2

       Monsanto argues that because they remain in the case and are a potential source of

payment that there is no prejudice against Plaintiff.     Assuming the continued solvency of

Monsanto, even including sums set aside for Roundup verdicts, as a potential source ofpayment

in light of the thousands of people killed or seriously injured by Monsanto’s choosing to protect

its profits over the lives of its consumers (and the thousands of existing and potential lawsuits

Monsanto is facing as a result) may soon become a bad assumption. However, even assuming

Monsanto is around to be a source of payment this ignores the other sources of prejudice against

the Plaintiff. As discussed above, forcing a Plaintiffto pursue two separate lawsuits in virtually

any circumstance is prejudicial.     In cases like these involving rich powerful defendants,

extremely complex medical causation issues, redundancy of evidence and issues, and the

emotionally tolling damages involving facing death from cancer, the prejudice is amplified to

extreme levels. This factor clearly weighs in favor of granting amendment.

       III.    Conclusion.

       In sum, Monanto’s argument against allowing amendment amounts to little more that

their contention that M&W Supply and NKC could have been sued in the original complaint and

a request for the Court to impugn improper motives against the Plaintiff as a result.        This

argument ignores the fact that Plaintiff could not have sued NKC because the Plaintiff was

unaware of the existence of NKC and was unaware of the facts that give rise to NKC’s liability




             2 The first, and to date only, discovery specific to this Plaintiff requested by
       Monsanto is the requested deposition of the Plaintiff which will not occur until January 7,
       2022.


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to the Plaintiff when the original compliant was filed. Indeed, Plaintiff was unaware of NKC

until just weeks before he filed his second request to amend. This argument also ignores the

totality of the analysis of the relevant factors weigh in favor of granting amendment.

       The First factor, which is a less restrictive standard than for joinder under [Rule 1 9]3,

weighs in favor of granting amendment. This standard is met when failure to join will lead to

separate and redundant actions - as would unquestionably occur in this case should joinder be

denied. The Second factor, while slightly weighing against amendment, is less the helpful than

the other factors in the Court’s analysis of the instant case. The Third factor also weighs in

favor of amendment. The delay in joining M&W Supply was due to a reasonable attempt to

resolve the matter expeditiously and a reasonable investigation into a newly discovered medical

causation issue. Significantly, there was no real delay in attempting to join NKC. The Fourth

factor also weighs in favor of granting amendment. This factor requests the Court to determine

ifjoinder is intended to solely defeat federal jurisdiction. Plaintiffs motives in avoiding having

to pursue multiple lawsuits in different jurisdictions over the same facts, to have all liable

parties held accountable and to have additional parties participate in settlement discussions all

establish the Fourth factor in favor of allowing amendment.       The Fifth factor is in favor of

amendment. While Monsanto does not appear to argue strenuously against this factor, that

should not undermine the importance this factor must play in the Court’ s analysis. These claims

are completely valid and the Court should allow the Plaintiff to pursue them in the same case.

Finally, the Sixth factor strongly weighs in favor of amendment. Litigating any case twice,




                3 “Although courts consider whether a party would meet Fed. R. Civ. Proc.
       1 9's standard for a necessary party, amendment under § 1447(e) is a less restrictive
       standard than for joinder under Fed. R. Civ. Proc. 19. See Trotman v. United
       Parcel Service, 1996 WL 428333, *1 (N.D.Cal.1996)” IBC Aviation Servs., Inc.
       v. Compania Mexicana de Aviacion, S.A. de C.V., 125 F. Supp. 2d 1008, 1011-12
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simultaneously, in multiple forums, would usually create prejudice against a plaintiff. Here,

where the Plaintiff would have to litigate extensively the same issues, against powerful

defendants, face the possibility of inconsistent verdicts, incur significant additional costs, face

extremely challenging and complex medical causation issues, and face the emotional toll of a

case involving his cancer and facing death - the prejudice would be extreme. For these reasons

Plaintiff requests the Court grant his Second Motion for Leave to Amend Complaint to Join

Additional Party Defendant and for Remand Due to a Lack of Diversity.

                                CERTIFICATE OF SERVICE


       I hereby certify that the foregoing was electronically filed on/t/p-^^ ,        , 2021 , and
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